     Case 3:18-cv-00395-L-BLM Document 36 Filed 04/08/20 PageID.379 Page 1 of 1



 1
 2
 3
 4
 5
 6
 7                             UNITED STATES DISTRICT COURT
 8                           SOUTHERN DISTRICT OF CALIFORNIA
 9
10   CRYSTAL HILSLEY,                                      Case No.: 3:18-cv-00395-L-BLM
11                                        Plaintiff,
                                                           CLASS ACTION
12   v.
                                                           ORDER GRANTING JOINT
13   GENERAL MILLS, INC. et al.,
                                                           MOTION TO STAY
14                                     Defendants.
15
16         Pending before the Court is the Joint Motion and Stipulation to Stay Action. (Doc.
17   no. 35.) The parties request a 90-day stay pending conclusion of mediation. For good
18   cause shown, the joint motion is granted. This action is stayed until July 7, 2020. No
19   later than July 7, 2020, the parties shall file a joint status report or a motion for a
20   preliminary approval of settlement. Failure to timely comply with this order may result
21   in sanctions. See Civ. Loc. R. 83.1.
22         IT IS SO ORDERED.
     Dated: April 8, 2020
23
24
25
26
27
28

                                                       1
                                                                                    3:18-cv-00395-L-BLM
